                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


NUWAY Alliance, NUWAY House, Inc., 3
Rs NUWAY Counseling Center, NUWAY
Saint Cloud Counseling Center, NUWAY               Civil Action No. 25-cv-492 (JRT-ECW)
University Counseling Center, NUWAY
Rochester Counseling Center, 2118                   DECLARATION OF KENNETH L.
NUWAY Counseling Center, NUWAY                              ROBERTS
Mankato Counseling Center, NUWAY
Duluth Counseling Center,

                     Plaintiffs,
       v.

Minnesota Department of Human Services
Temporary Commissioner Shireen Gandhi,
in her official capacity,

                     Defendant.


       I, Kenneth L. Roberts, declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746, that the following is true and correct:

       1.     I have served as NUWAY Alliance’s Chief Clinical Officer since April 23,

2013. In my role as Chief Clinical Officer, I oversee all client-facing services and licensed

programs along with NUWAY’s Quality Training and Compliance (QTC), Practicum, and

Recovery Residence Resource Teams. I also regularly deliver educational and training

content in conferences and seminars as a representative of the Alliance on a local and

national level.

       2.     My training and experience include a pending Doctorate in Behavioral

Health (DBH) and a Master’s Degree in Integrated Behavioral Health (IBH). I am also
certified in Accelerated Resolution Therapy (ART) and Prolonged Exposure (PE), for the

treatment of posttraumatic stress disorder (PTSD). I am also a person in long-term

recovery. My twenty-year recovery period has served as the foundation for my daily

passion in a fifteen-year career delivering client-focused, trauma-informed care.

NUWAY and the RISE Program

       3.       NUWAY was established as a non-profit in 1966 as NUWAY House, Inc.,

offering one of the first halfway house care models in the United States and Minnesota for

individuals with substance use disorder. NUWAY has since grown into one of the largest

providers of co-occurring substance use disorder and mental health treatment in Minnesota.

       4.       NUWAY is an enrolled substance use disorder (“SUD”) services provider

with Minnesota Health Care Programs (“MHCP”) and delivers licensed co-occurring care

under Minnesota Statute 245G (Substance Use Disorder Licensed Treatment Facilities).

As such, NUWAY receives Medicaid-supported reimbursements from MHCP payors for

services provided to its clients, including nonresidential (outpatient) individual and group

treatment services, residential treatment services, treatment coordination, and recovery

peer support.

       5.       Because of the vulnerable client population it serves, NUWAY relies heavily

on Medicaid-supported reimbursements to fund its operations. Approximately sixty-six

percent of NUWAY’s revenue is generated through its outpatient treatment program, and

more than ninety percent of those revenues are from Medicaid-supported payors.

       6.       Following the implementation of rate reform in 2011, which resulted in the

elimination of reimbursement for halfway houses, many providers of halfway houses and


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extended care addiction treatment services opted to become high-intensity residential

treatment centers. This left a gap in extended care services for individuals immediately

following their discharge from high-intensity residential treatment centers; many such

clients were discharged to the street, only to return to use and start the cycle of use,

admission, and discharge all over again.

       7.     Recognizing this gap in services following discharge from high-intensity

residential treatment, and with the goal of disrupting the relapse cycle of substance use

disorder, NUWAY created the Recovery in Supportive Environments (“RISE”) program

in 2014. RISE integrates high-quality, trauma-informed care with recovery residence

support to those demonstrating clinical need per the American Society of Addiction

Medicine’s Criteria. 1 Historically, intensive outpatient therapy was provided forty hours

per week over the course of five weeks. RISE was the first program in Minnesota to shift

that model in support of greater extended care. RISE changed the Minnesota treatment

paradigm by shortening the therapeutic day, while increasing the potential number of days

those clients had access to therapy.




1
  ASAM is a professional medical society representing over 7,000 physicians, clinicians
and associated professionals in the field of addiction medicine. ASAM is dedicated to
increasing access and improving the quality of addiction treatment, educating physicians
and the public, supporting research and prevention, and promoting the appropriate role of
physicians in the care of patients with addiction. ASAM utilizes a six dimensional risk
assessment tool that includes evaluation of an individual’s withdrawal potential,
biomedical status, emotional/mental health, change motivation, relapse potential, and
recovery environment.           See ASAM, Asam about Us, available at
https://www.asam.org/about-us.


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       8.     RISE was specifically designed to address the fact that Minnesota’s Housing

Support program, which I discuss in more detail below at paragraph 15, did not have the

capacity or appropriate parameters to serve individuals participating in intensive outpatient

programs.

       9.     RISE utilizes independent, community-based recovery residence resources

to ensure access to stable, recovery-focused environments for clients engaged in clinical

care services. All recovery residence partners are vetted by NUWAY prior to becoming a

NUWAY partner. RISE aligns with the Minnesota Department of Human Services’

(“DHS”) goal of allowing individuals a choice about where they receive their substance

use disorder care and where they live.

       10.    Individuals who participate in RISE must meet assessed clinical thresholds

for the treatment care level per ASAM criteria. This includes identification of risk or

vulnerability in the client recovery environment. Once a NUWAY treatment client has

been admitted for participation in the RISE program, NUWAY pays an independent,

abstinence-based recovery residence center of the client’s choice to house the client during

the period of the client’s intensive outpatient treatment with NUWAY and for a thirty-day

period following the successful conclusion of intensive outpatient treatment.          RISE

originally provided a stipend in the amount of $550 per month. In July of 2023, the stipend

was adjusted for cost of living and is currently $700 per month.

       11.    A significant number of client referrals to NUWAY’s intensive outpatient

program come from inpatient treatment programs. In other words, as clients exit inpatient

treatment programs, those programs often refer the clients to NUWAY’s intensive


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outpatient program as the next step in the treatment pathway. Operators of the recovery

residences utilized by NUWAY’s outpatient clients rarely refer clients to NUWAY.

      12.    As previously noted, NUWAY is now one of Minnesota’s largest providers

of co-occurring substance use disorder and mental health treatment. In 2024, NUWAY

provided intensive outpatient treatment to over 4,800 clients and outpatient treatment to

more than 540 clients.     Of the intensive outpatient clients, over 80% consistently

participated in the RISE program. Currently, NUWAY serves over 800 clients in intensive

outpatient treatment and more than 80 patients in outpatient treatment. Of NUWAY’s

current intensive outpatient clients, 84% currently participate in the RISE program.

NUWAY’s intensive outpatient program is offered at seven locations across six counties

in Minnesota, which includes recovery residences for patients in rural and unserved areas,

such as Nicollet, Olmsted, Blue Earth, Stearns, Benton, Sherburne, and St. Louis counties.

      13.    There is a statistically significant connection between the RISE program and

better outcomes for NUWAY’s clients. In a study conducted between August 2019 and

November 2024, the University of Minnesota determined that NUWAY intensive

outpatient clients were twenty percent more likely to complete treatment if they

participated in RISE. 2 The study also found that, on average, participants in recovery


2
  Glass, L., Wiseman, J., Anderson, L., Omar, H., Freedland, T. (2022). Recovery
Residences and Improved Outcomes: The association between R.I.S.E. and clinical
outcomes. Research Brief No. 5 (January, 2022) Center for Practice Transformation,
University       of     Minnesota,         available    at    https://www.nuway.org/wp-
content/uploads/2022/09/Research-Brief-Recovery-Residences-and-Improved-Outcomes-
The-Assoc-Between-RISE-and-Clinical-Outcomes-FINAL.pdf; regarding the ongoing
nature of the study, see https://practicetransformation.umn.edu/research/.


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housing spent 37 more days in treatment than those not in recovery housing. 3 One of the

Managed Care Organizations (“MCOs”) that coordinates and manages Medicaid-

supported services for NUWAY clients, UCare, bestowed NUWAY with its Innovation

Award for the RISE program, which they described as “implementing innovative

supportive housing programs as part of addiction care.” 4 In a press release, UCare stated

that “the award recognizes a partner who is improving the health of UCare members

through innovative care delivery and/or payment models. NUWAY helps individuals gain

access to sustainable recovery from addiction through housing support.” 5

          14.   NUWAY also operates a group of smaller residential inpatient treatment

programs, which currently serve over 200 clients in five locations in Minnesota.


Available Resources

          15.   Based on my training and experience, there is a shortage of treatment

programs integrating recovery-focused housing in Minnesota. Two of three housing

programs offered by the State of Minnesota 6—Housing Stabilization Services and Crisis

Housing—are not viable options for NUWAY’s intensive outpatient clients. Housing


3
    Id.
4
 See UCare’s “A Salute to Excellence!” celebrates 23 providers, UCare, (October 18,
2022) https://media.ucare.org/-
/media/documents/media/2022/20221017_asalutetoexcellenceawards.pdf?rev=6beb5cabc
b3c4f84b2e286f16175bc03&hash=4514E763DB4AF07257581CE15C50A926.
5
    Id.
6
  My understanding is that a fourth program—Free-Standing Room and Board—has been
identified for elimination in the Governor’s most recent budget proposal.


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Stabilization Services assists people with disabilities (including substance use disorder) in

finding and keeping housing (including paying for some moving expenses), but does not

pay for housing, 7 and clients in outpatient treatment do not qualify for Crisis Housing

(which serves people receiving inpatient or residential substance use disorder). 8

NUWAY’s intensive outpatient clients are eligible for Minnesota’s third housing program,

called Housing Support, which pays for room and board for adults with disabilities in

highly-regulated facilities. 9

       16.     Before NUWAY developed RISE, I frequently observed a lack of capacity

in Housing Support programs to meet the needs of clients discharging from inpatient

residential treatment, resulting in these clients being unable maintain consistent

engagement with outpatient services. Furthermore, many Housing Support settings are not

run with a recovery focus, making them non-supportive or unhealthy environments for

individuals in early recovery. Although the state does not provide accessible data on total

bed counts, based on my training and observations, those capacity levels remain

proportionately the same today, and Minnesota’s Housing Support program likely does not


7
    See MN Department of Human Services Housing Stabilization Services,
https://mn.gov/dhs/partners-and-providers/policies-procedures/housing-and-
homelessness/housing-stabilization-services/housing-stabilization-services.jsp (last
visited Feb. 6, 2025).
8
 See MN Department of Human Services, Housing programs and services,
https://mn.gov/dhs/people-we-serve/adults/economic-assistance/housing/programs-and-
services/ (last visited Feb. 6, 2025).
9
 See MN Department of Human Services, Housing Support (formerly known as Group
Residential Housing), https://mn.gov/dhs/people-we-serve/seniors/economic-
assistance/housing/programs-and-services/housing-support.jsp (last visited Feb. 6, 2025).


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have the capacity to house NUWAY’s intensive outpatient client population currently

utilizing recovery residence support. Additionally, because the majority of Minnesota’s

Housing Support providers are not abstinence based (meaning participants in the Housing

Support program are not required to abstain from drugs and alcohol), in my professional

opinion, such housing is often not suitable for individuals engaged in intensive outpatient

treatment because it lacks the supportive peer environment demonstrated to support a

recovery process and may expose vulnerable individuals to direct relapse triggers.

       17.    On February 4, 2025, I participated in a call with representatives of DHS.

The purpose of the call, according to DHS, was to discuss next steps to ensure client

continuity of care if NUWAY were to cease operations following the payment suspension

that is scheduled to take effect on February 21, 2025.

       18.    While discussing the transfer of NUWAY intensive outpatient clients away

from NUWAY’s residential recovery partners, Paula Halverson, Manager of DHS’s

Licensing Division and Unit Manager of the Mental Health/Substance Use Disorder/CRF

Unit, inquired whether NUWAY had capacity in its residential inpatient treatment

programs such that NUWAY’s intensive outpatient clients could be transferred to that

higher level of care for treatment and housing based only on the need for housing. I

informed Ms. Halverson that NUWAY’s residential programs are currently at capacity.

Ms. Halverson’s question suggested to me that there is, indeed, a shortage of treatment and

recovery-focused housing in Minnesota if DHS would be willing to take the drastic and

arguably improper step of returning outpatient clients—who have recently completed




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inpatient residential treatment (and are therefore no longer clinically indicated for that level

of care)— to inpatient residential treatment at a higher cost to the State.

       19.    Additionally, I know that approximately two dozen other substance use

disorder treatment providers in Minnesota provide housing assistance, similar to the RISE

program, to clients in intensive outpatient programs. Because I believe in the effectiveness

and benefits of RISE for such clients, I asked the DHS representatives during the February

4th call whether DHS would consider it improper for NUWAY to facilitate the transfer of

patients to treatment providers with identically or similarly structured programs—like

RISE—following a payment suspension. DHS initially responded that it would not provide

information about whether there were any existing investigations related to the practices or

programs of other providers. Upon further inquiry, DHS confirmed that NUWAY would

not be expected to determine whether any entities were engaging in the same alleged

fraudulent conduct that DHS alleges NUWAY has been engaging in via the RISE program.

Therefore, according to DHS, NUWAY would be permitted to transition intensive

outpatient clients to entities operating housing assistance programs like the RISE program

so long as there were no pending DHS actions against those entities.

       20.    On February 5, 2025, DHS emailed NUWAY a handout to provide to clients

summarizing “Housing, treatment help for clients affected by service disruptions.” A true

and correct copy of the handout provided to NUWAY by DHS is attached hereto as Exhibit

A. Based on the handout, DHS’s suggestion to NUWAY’s intensive outpatient clients is

to utilize Minnesota’s Housing Support program discussed in paragraphs 14 and 15 of this

Declaration. Additionally, the handout had links to lists of providers that operate housing


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assistance programs like the RISE program, as discussed in paragraph 18 of this

Declaration.

Impact of Payment Withhold

       21.     I understand that if NUWAY’s operations ceased, many NUWAY clients in

the intensive outpatient program would suffer from two potential changes: interruption of

the continuity of treatment and loss of housing. While difficult to quantify, a simultaneous

interruption of care and the recovery environment could have life-threatening

consequences for impacted clients.

       22.     Continuity of care is identified as foundational component of evidence-based

substance use disorder treatment by the American Society of Addiction Medicine

(“ASAM”). Studies have consistently shown that the longer care touchpoints are sustained

along a continuum, the more consistently sustained recovery outcomes are achieved.

       23.     Per longitudinal data gathered in a five-year study through the University of

Minnesota, fifty percent of clients entering NUWAY’s intensive outpatient program

reported homelessness in the six months preceding entry to the program and averaged five

prior treatment episodes for substance use disorder. Inclusion of recovery housing as an

integrated component of treatment has been demonstrated to result in better outcomes for

clients receiving that support, including increased days of abstinence, reduced mental

health disorder symptoms, and increased rates of successful treatment completion. The

most recent ASAM guidance formally published in 2024 includes recovery residence

housing as a formal part of the treatment continuum.




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        24.   Based on my training and experience, some of the likely impacts on current

NUWAY clients in the intensive outpatient program if their continuity of care was

interrupted by cessation of NUWAY’s operations and/or if they lose their housing in

recovery residences and are unable to secure alternative housing include separation from

trusted counselors and interruption of individualized clinical care, destabilization of their

existing recovery environment, disruption of established peer relationship supports and

manifestation of emotional, environmental, and psychological stressors precipitating

potential return to substance use and a range of potential negative outcomes, including

overdose and death.

        25.   In addition to the harm to NUWAY clients, any cessation of NUWAY’s

operations will impact NUWAY and its partners in immeasurable ways.                 Recovery

residence providers who house NUWAY’s vulnerable clients will be faced with an

immediate negative impact to their sustainability and the potential prospect of having to

close their doors permanently. Recovery residences are owned and run by small business

owners, usually individuals with lived substance use disorder recovery history seeking to

give back to those in need. Their margins are minimal, and they do not have the reserves

to offset the sweeping loss of bed occupancy that would occur.

        26.   DHS’s payment withhold will not only cause NUWAY to cease outpatient

operations now but will destroy the trust patients and partners have placed in NUWAY,

significantly harming its reputation and future operations in the event it is able to ever re-

open.




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       27.    Inability to sustain the intensive outpatient program will result in the loss of

career, livelihood, and benefits for over two hundred highly trained NUWAY clinicians

and their families. Additionally, over forty NUWAY practicum students (interns) will be

displaced. This will result in the loss of credits during the current semester, delaying the

students’ ability to obtain licensure required for employment.

       28.    With the deadline only two weeks away, NUWAY has already started to

experience the impact of the looming payment withholds. Some of these impacts include:

(1) a decrease in client consistency of treatment engagement, (2) a cessation of external

employment applicants to fill critical client-facing service roles, (3) a significant decrease

in existing staff morale, (4) notifications from trusted community partners of their intent to

cease referrals to NUWAY’s programs; and (5) preemptive reimbursement stoppages from

state contracted payers. Additionally, our financial auditor, Baker Tilley, has put a work

stoppage in place; consequently, Baker Tilley’s 2023 audit, due February 7, 2025, will not

be completed. This audit is required by our banking partners, who have requested it as

recently as February 5, 2025.

       29.    If a payment withhold went into effect on February 21, 2025, NUWAY

would make every effort to responsibly transfer its clients to comparable, available

treatment and housing. Without incoming revenue, however, I have learned it is reasonable

to estimate that NUWAY would be forced to cease admissions of new intensive outpatient

clients immediately. Per licensure requirements, NUWAY would be required to provide

twenty-five days of notice and treatment to current intensive outpatient clients, and without

revenue, would be forced to cease intensive outpatient services entirely within sixty days.


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February 7, 2025        /s/ Kenneth L. Roberts
                        Kenneth L. Roberts




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